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                      Exhibit E
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                                            February 10, 2023

VIA E-MAIL

Brian L. Stekloff                                    John C. Massaro
Beth A. Wilkinson                                    David E. Kouba
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RE:      San Francisco Unified School District v. JUUL Labs, Inc., et al. (Case No. 3:19-cv-
         08177) – Plaintiff’s Witness List

Dear Counsel:

         Below please find Plaintiff San Francisco Unified School District’s most recent Witness
List.

         The “Video/Live” category includes witnesses whose availability for trial is uncertain or
who, even if they are available to testify live, Plaintiff may nevertheless seek, by agreement or
Court Order, to call by video. The “Call Status” column is Plaintiff’s good faith representation as
to which witnesses it is more likely to call at trial, but these designations are subject to change as
trial preparation progresses.

With production of this Witness List, Plaintiff reserves the right to:

         -   Call witnesses at trial, in its case-in-chief or otherwise, not included on this list, or to
             include additional or different witnesses on any future iteration of this list.

         -   Call witnesses at trial, in its case-in-chief live, identified on Altria’s as coming live in
             Altria’s case-in-chief (ie. those witnesses that Altria has subpoenaed).
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       -   Supplement or amend this list up to and including the time of trial in light of:
           discovery that has not yet been completed; the evidence Defendant elicits at trial;
           Defendant’s proposed designations, exhibits, and witness lists; and/or the Court’s
           ruling on any pretrial motions.

       -   Not call any person on this list.

       -   Call or introduce testimony from any witness deemed necessary for impeachment or
           rebuttal purposes, whether or not previously identified herein.

       -   Submit as evidence deposition or other testimony taken in this matter, regardless of
           whether or not from a witness identified herein.

       -   Rely upon deposition testimony affirmatively designated by Defendant or Plaintiff for
           any witness as counter-designated deposition testimony introduced in any party’s
           case-in-chief.

       -   Call any witness (including witnesses not identified herein) to the extent necessary to
           support the admission of documents into evidence if a stipulation cannot be reached
           concerning the admissibility or authenticity of such documents.

       -   Use any available method at trial (i.e. live in-person testimony, live remote testimony,
           or deposition designation video), regardless of the classifications provided herein.

Please reach out with any questions or concerns.


                                      Very truly yours,


                                      Thomas P. Cartmell

TPC/mg

cc:    Sarah London
       Dean Kawamoto
       Ellen Relkin
       Dena Sharp
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REF NO.           TYPE                        WITNESS               CALL STATUS
                                       Live
   1              Expert            Chandler, John                Likely Call
   2              Expert            Cutler, David                 Likely Call
   3              Expert            Dorn, Michael                 Likely Call
   4              Expert            Drumwright, Minette           Likely Call
   5              Expert            Grunberg, Neil                Likely Call
   6              Expert            Ribisl, Kurt                  Likely Call
   7              Expert            Rollo, Robert                 May Call
   8              Expert            Shihadeh, Alan                May Call
   9              Expert            Tackett, Randall              May Call
            Expert (Abatement
  10                                Kelder, Steven                Likely Call
                  Phase)
            Expert (Abatement
  11                                Winickoff, Jonathan           Likely Call
                  Phase)
  12      Expert (Punitive Phase)   Johnson, Robert               Likely Call
  13           Expert/Fact          Halpern-Felsher, Bonnie       Likely Call
  14           Expert/Fact          Prochaska, Judith             Likely Call
  15               Fact             Bowen, Adam                   Likely Call
  16               Fact             Cho, Madeline                 Likely Call
  17               Fact             Coates, Kim                   May Call
  18               Fact             Lehr-Love, Kaya               Likely Call
  19               Fact             Lingrell, Erica               Likely Call
  20               Fact             Pak, Quarry                   Likely Call
  21               Fact             Pepper, Christopher           Likely Call
  22               Fact             Pritzker, Nicholas            Likely Call
                                       Video

  23               Fact             Blaylock, Brian               Likely Call
  24               Fact             Crosthwaite, Kevin ("K.C.")   Likely Call
  25               Fact             Daviduke, Brian               May Call
  26               Fact             Devitre, Dinyar               Likely Call
  27               Fact             Dunlap, Scott                 Likely Call
  28               Fact             Edmonson-Taylor, Jessica      May Call
  29               Fact             Fernandez, Pascal             May Call
  30               Fact             Frankel, Zachary              Likely Call
  31               Fact             Gardner, William              Likely Call
  32               Fact             Gifford, William              Likely Call
  33               Fact             Handelsman, Harold            May Call
  34               Fact             Harter, Bruce                 Likely Call
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35             Fact         Longest, Kaitlin        Likely Call
36             Fact         Mumby, Richard          May Call
37             Fact         Olin, Christopher       Likely Call
38             Fact         Romyak, Matthew         May Call
39             Fact         Valani, Riaz            Likely Call
40             Fact         Willard, Howard         Likely Call
41             Fact         Xu, James               Likely Call
                            Video/Live

42             Fact         Garnick, Murray         Likely Call
43             Fact         Monsees, James          May Call
44             Fact         Wakefield, Camesheann   Likely Call
